             Case 3:18-bk-03980-JAF      Doc 29   Filed 01/22/19   Page 1 of 2



                                       ORDERED.


     Dated: January 22, 2019




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
                                 www.flmb.uscourts.gov

IN RE:

SEAN CHRISTOPHER STENSON                               CASE NO.: 3:18-BK-03980-JAF
and LINDA ROSSI STENSON                                CHAPTER: 7

      DEBTOR(S).
__________________________/

AGREED ORDER GRANTING MOTION FOR IN REM RELIEF FROM AUTOMATIC
              STAY AS TO SURRENDERED PROPERTY

        THIS CASE came before the Court upon Nationstar Mortgage LLC d/b/a
Mr.Cooper’s (“Creditor”) Motion for In Rem Relief from Automatic Stay as to Surrendered
Property [DE #8]; which was set for hearing on January 14, 2019. Upon agreement of the
relevant parties involved, it is
    ORDERED:
        1.      Creditors’s Motion is GRANTED in rem, effective 120 days from the date of
                entry of this order.
            Case 3:18-bk-03980-JAF          Doc 29     Filed 01/22/19      Page 2 of 2


       2.      After 120 days; the automatic stay provided for under of 11 U.S.C. § 362 of the
               Bankruptcy Code shall be terminate without any further order or notice to this
               Court from the court in relation to Creditor’s interest in the following property:




AKA: 1921 Belhaven Drive, Orange Park, Florida 32065 (the “Subject Property”)

       3.      The order granting relief from stay is entered for the sole purpose of allowing
               Movant complete in rem relief to take any and all steps necessary to exercise any
               and all rights it may have in the collateral, to gain possession of said collateral, to
               have such other and further in rem relief as is just, and that Movant shall not –
               contingent upon the Debtor(s) receiving a discharge in this case – obtain in
               personam relief against the debtor.
       4.      The relief granted in this Order shall remain in tact and effective should this case
               be converted to another Chapter.
       5.      The stay imposed by Fed. R. Bankr. P. 4001(a)(3) is waived.




_ /s/ Eugene H. Johnson, Esq                          _ /s/ Jeffrey S. Fraser, Esq.
Eugene H. Johnson, Esq.                               Jeffrey S. Fraser, Esq.
Attorney for Chapter 7 Trustee                        Attorney for the Creditor
Bar No.: 32105                                        Bar No.: 85894




Attorney, Jeffrey Fraser, Esq. is directed to serve a copy of this order on interested parties who
are non-CM/ECF users and to file a proof of service within three days of the entry of the
order.




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